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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                         )
LILIAN PAHOLA CALDERON JIMENEZ, )
and LUIS GORDILLO, et al.,               )
                                         )
Individually and on behalf of all others )
similarly situated,                      )
                                         )            No. 1:18-cv-10225-MLW
                Plaintiffs-Petitioners,  )
                                         )
        v.                               )
                                         )
CHAD WOLF, et al.,                       )
                                         )
                Defendants-Respondents.  )
                                         )

                  JOINT MOTION TO EXTEND DEADLINES TO RESPOND

         The parties respectfully request that the Court extend the deadlines to respond to motions

now pending before the court, as indicated below. In support of this motion, the parties state that

other commitments, combined with the impact of the holiday season upon the availability of

resources and personnel, leads both parties to need an additional week (8) days to fully respond.

                                              Current Deadline                 Proposed Deadline
 Respondents’ Response to
 Petitioners’ Motion to
                                             December 14, 2020                 December 22, 2020
 Compel Discovery (ECF No.
 566)
 Petitioners’ Response to
 Respondents’ Renewed
                                             December 16, 2020                 December 23, 2020
 Motion to Dismiss (ECF No.
 560)

         By way of this joint motion, the parties also respectfully request leave of this Court to file

short reply briefs, if necessary. Such briefs would be limited to ten (10) pages. The parties

request a briefing schedule as follows:




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                                                                    Proposed Deadline
 Petitioners’ Reply in Support of Its Motion to Compel
                                                                      January 12, 2021
 (ECF No. 566)
 Respondents’ Reply in Support of Renewed Motion to
                                                                      January 15, 2021
 Dismiss (ECF No. 560)


Respectfully submitted this 11th day of December, 2020.

                                                   IT IS SO ORDERED:



Date                                               The Honorable Mark L. Wolf

  Counsel for the Respondents                     Counsel for the Petitioners

  JEFFREY BOSSERT CLARK                   /s/ Allyson T. Slater
  Acting Assistant Attorney               Kevin S. Prussia (BBO # 666813)
  General                                 Michaela P. Sewall (BBO # 683182)
                                          Jonathan A. Cox (BBO # 687810)
  WILLIAM C. PEACHEY                      Allyson Slater (BBO # 704545)
  Director                                Colleen M. McCullough (BBO #
  Office of Immigration Litigation        696455)
                                          Matthew W. Costello (BBO #
  ELIANIS N. PEREZ                        696384)
  Assistant Director                      Christina Luo (BBO # 705590)
                                          WILMER CUTLER PICKERING
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                                    AMERICAN CIVIL LIBERTIES UNION
                                    FOUNDATION OF MASSACHUSETTS,
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             CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

        I certify that, in accordance with Local Rule 7.1(a)(2), counsel for Respondents and

counsel for Petitioners conferred in good faith on December 11, 2020 in an attempt to resolve the

issues raised in this motion. The parties have agreed to file this motion jointly.



                                                      /s/ William H. Weiland
                                                      William H. Weiland




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